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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                         February 13, 2024
                                                                         Nathan Ochsner, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

         URSULA N. WILLIAMS,        §     CIVIL ACTION NO
                   Plaintiff,       §     4:20-cv-01900
                                    §
                                    §
               vs.                  §     JUDGE CHARLES ESKRIDGE
                                    §
                                    §
         LAKEVIEW LOAN              §
         SERVICING LLC and          §
         LOANCARE LLC,              §
                  Defendants.       §

                           ORDER DENYING
                     MOTION FOR RECONSIDERATION

             The motion by Defendants Lakeview Loan Servicing,
         LLC and LoanCare, LLC for reconsideration is denied.
         Dkt 134.
             Plaintiff Ursula Williams initiated this class action
         lawsuit against Lakeview Loan Servicing and LoanCare,
         asserting that their collection of pay-to-pay fees violates
         the Texas Debt Collection Act. Dkt 1. The matter was
         referred for pretrial management to Magistrate Judge
         Christina A. Bryan. Dkt 92. In a Memorandum and
         Recommendation addressing the parties’ cross-motions for
         summary judgment, she recommended denying the
         motion by Defendants and granting the motion by
         Plaintiffs. Dkt 125.
             Defendants filed objections to the Memorandum and
         Recommendation pursuant to Rule 72(b)(2) of the Federal
         Rules of Civil Procedure. Dkt 129. The filing consisted of
         twenty-four distinct objections, crammed into twenty-five
         pages. It was devoid of cogent argument and instead
         reiterated previous arguments—not by explaining or
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         clearly stating objections but by citing wide page ranges of
         various prior briefs.
             These won’t be cataloged in their entirety. But for
         example, Defendants:
                  o Simply contended with citation, “The Court
                      should sustain Defendants’ evidentiary
                      objections, ECF_109_Pg. 17–19.”
                  o Claimed that the Recommendation somehow
                      misstated and didn’t address their arguments,
                      while identifying those arguments merely by
                      citing page ranges at three different docket
                      entries.
                  o Asserted that the Recommendation “avoids
                      Defendants’ arguments,” while simply citing
                      to prior briefing at two different docket
                      numbers.
         See Dkt 129 at 11, 27, 34. And of note, Defendants also
         purported to raise new objections merely by broad
         reference to page numbers of the Recommendation or by
         other conclusory assertions—rather than providing any
         explanation      of    what      actual    holdings  of    the
         Recommendation should be reviewed de novo by the
         district court. For example, Defendants:
                  o Objected to the “merits” considered in the
                      Recommendation         at    page    5,  without
                      identifying the merits consideration to which
                      they objected.
                  o Stated without further explanation, “Injunc-
                      tive relief is irrelevant to actual damages.”
                  o Stated without further explanation, “Defen-
                      dants are entitled to res judicata. It’s not a
                      triable issue.”
         See id at 11, 31, 32.
             The objections were overruled and the Memorandum
         and Recommendation of the Magistrate Judge was
         adopted. Dkt 130. Specifically noted was the conclusion
         that de novo review wasn’t warranted with regard to this




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         multifarious collection of objections without reasonable
         depth or explanation. Id at 2–3. But even so, the Court
         proceeded to examine the objections de novo—to the
         extent that they were even susceptible of understanding—
         and determined they lacked merit. Id at 3.
               Defendants now seek reconsideration of that order
         pursuant to Rule 54(b). Dkt 134. That rule provides that
         “any order . . . that adjudicates fewer than all the claims
         or the rights and liabilities of fewer than all the parties
         . . . may be revised at any time before the entry of a
         judgment adjudicating all the claims and all the parties'
         rights and liabilities.” A district court in this context is
         permitted “to reconsider and reverse its decision for any
         reason it deems sufficient.” McClendon v United States,
         892 F3d 775, 781 (5th Cir 2018), citing Austin v Kroger
         Texas LP, 864 F3d 326, 336 (5th Cir 2017).
               Though the standard for evaluating a motion to
         reconsider under Rule 54(b) is flexible, factors similar to
         those under the stricter standards for reconsideration of a
         final judgment under Rules 59 and 60 may still inform
         the court’s analysis. Fishman Jackson PLLC v Israely,
         180 F Supp 3d 476, 481 (ND Tex 2016). Indeed, a district
         court may require the moving party to show that one of
         the factors required to grant relief under Rule 59(e)
         pertains, provided that the court recognizes that it has
         “the discretion to grant reconsideration even in the
         absence of any such showing.” United States v 89.9270303
         Bitcoins, 2021 WL 5203337, *1 (WD Tex) (citation
         omitted).
               These factors include (i) intervening change in law,
         (ii) availability of previously unavailable new evidence,
         and (iii) a need to correct a clear legal error or to prevent
         manifest injustice. Ibid. None pertain here.
               Defendants do insist that reconsideration should be
         given as to the finding that their objections to the
         Recommendation were insufficient to trigger de novo
         review. Precedent doesn’t favor that request.




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              The Fifth Circuit is clear that “objections must
         specifically identify those findings objected to. Frivolous,
         conclusive or general objections need not be considered by
         the district court.” Nettles v Wainwright, 677 F2d 404, 410
         n 8 (5th Cir 1982), overruled on other grounds (emphasis
         added). See also Battle v United States Parole
         Commission, 834 F2d 419, 421 (5th Cir 1987) (de novo
         review not required because objections were conclusory).
         Beyond this, objections should be specific enough to
         “facilitate[ ] the opportunity for district judges to spend
         more time on matters actually contested.” Nettles, 677 F2d
         at 410 (emphasis added). In short, objections should be
         “specific enough to allow the trial court to . . . explore the
         issue raised.” Dkt 134 at 11, citing Windland v
         Quarterman, 578 F3d 314, 316 (5th Cir 2009) and United
         States v Burton, 126 F3d 666, 673 (5th Cir 1997).
               Such observations from the Fifth Circuit make clear
         that proper objections aren’t merely a laundry list of
         grievances against the analysis by the magistrate judge.
         They should instead point the district judge to specific
         issues to be explored on de novo review. Defendants’
         multifarious objections here failed to facilitate the
         opportunity for this Court to identify and explore the
         issues actually contested, as required by the Fifth Circuit.
              Defendants point out that objections needn’t be more
         specific than to “put the district court on notice of the
         urged error.” Williams v K & B Equipment Co, 724 F2d
         508, 511 (5th Cir 1984). This is true—at least insofar as it
         goes. But Rule 72(b)(2) of the Federal Rules of Civil
         Procedure still requires that objections be specific, not
         general. And the job of the district court is to review de
         novo specific objections—not to unravel general references
         to pages upon pages of prior briefing. To require the
         district court to comb through various prior filings to
         determine what the objections actually were is a waste of
         judicial resources. See Nettles, 677 F2d at 406, 410 (noting
         Federal Magistrates Act was enacted to increase judicial
         efficiency).




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              Other courts are in accord. See United States v Ervin,
         2015 WL 13375626, *13 (WD Tex) (collecting cases). The
         Sixth Circuit, for example, finds objections insufficient if
         they require the district court to duplicate the time and
         effort of the magistrate judge. Howard v Secretary of
         Health & Human Services, 932 F2d 505 (6th Cir 1991).
         “This duplication of time and effort wastes judicial
         resources rather than saving them, and runs contrary to
         the purposes of the Magistrates Act.” Likewise, the
         Seventh Circuit holds that objections without reasonably
         in-depth argument don’t preserve issues for de novo
         review. Lockert v Faulkner, 843 F2d 1015, 1019 (7th Cir
         1988): “A district judge should not have to guess what
         arguments an objecting party depends on when reviewing
         a magistrate’s report.” See also Pendleton v Rumsfeld,
         628 F2d 102, 106 (DC Cir 1980) (finding objections
         insufficient that amount to merely “[upholding] the
         contentions of the wrong party”).
              In short, in accord with the Southern District of New
         York, “perfunctory” objections don’t merit de novo review.
         Edwards v Fischer, 414 F Supp 2d 342, 346–47 (SDNY
         2006). And again, as mentioned in the original order and
         consistent with the Fifth Circuit’s direction that
         magistrate judges serve the purpose of judicial efficiency,
         objections must be more than simply a list of grievances
         telling the district court, “Here, you figure it out.” See
         Dkt 130 at 2.
              To be sure, the briefing by Defendants at this
         reconsideration stage is decidedly more thoughtful and
         cogent than at the objections stage. But that counts for
         very little. Reconsideration isn’t for do-overs. The time for
         Defendants to have put forth their best effort and
         arguments was at the objections stage. It simply isn’t
         proper to restate, repackage, or rethink the approach on
         reconsideration.
              And to be clear, the relief sought by Defendants can
         make no difference to the ultimate result. The prior order
         clearly states, “Even though [clear error is] all the review
         that was required, the Court has nevertheless also




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         examined the objections de novo and finds that they lack
         merit for the reasons stated by the Magistrate Judge.”
         Dkt 130 at 3. So, it can be assumed that Defendants did
         have a few specific objections warranting de novo review
         buried in their twenty-four arguments. For example, see
         Dkt 129 at 12–14 (arguing Plaintiff’s claims don’t fit
         within mootness exception recognized by Magistrate
         Judge) and 16–17 (arguing claims here are improperly
         based on HUD regulations, which don’t create private
         cause of action or impose on loan servicers any duty to
         borrowers). Those objections were determined on de novo
         review to lack merit. The findings of the Magistrate Judge
         needn’t be reiterated on review. Koetting v Thompson,
         995 F2d 37, 40 (5th Cir 1993).
              As such, the order overruling Defendants’ objections
         was in accord with prevailing standards of review in this
         and other circuits.
              Last, contrary to argument, the order didn’t violate
         Defendant’s due process rights. See Dkt 134 at 22–23.
         Defendants didn’t consent to the jurisdiction of the
         Magistrate Judge for all purposes in this case pursuant to
         28 USC § 636(c). See Dkt 45. This means that they
         reserved a right to de novo review by this Court of
         recommendations from the Magistrate Judge. But as
         noted, they did receive such review. See Dkt 130 at 3.
              Defendants also suggest that due process was violated
         because they were denied a word count extension for their
         filing of objections. Dkt 134 at 23; see also Dkt 128 (order
         denying word count extension). But Defendants did
         receive word count extensions for briefing on summary
         judgment. Dkts 101 & 108. They were thus given full
         opportunity to be heard before the Magistrate Judge
         made her recommendation. The objections process is for
         specific objections to that recommendation, not to
         reiterate every argument made during initial briefing.
         Due process before the Magistrate Judge and before this
         Court is satisfied.
              The motion for reconsideration is DENIED. Dkt 134.




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             SO ORDERED.

             Signed on February 13, 2024, at Houston, Texas.



                                  __________________________
                                  Hon. Charles Eskridge
                                  United States District Judge




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